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    IT IS ORDERED as set forth below:



    Date: February 16, 2022
                                                     _____________________________________
                                                                 James R. Sacca
                                                           U.S. Bankruptcy Court Judge

   _______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

       IN RE:                                    :           CHAPTER 13
       JENNIFER LEIGH BLANKS                     :           CASE NO. A21-58140-JRS
                 DEBTOR                          :

                       ORDER DISMISSING CASE WITH PREJUDICE


       On January 25, 2022, the Court held a hearing confirmation of Debtor’s plan and the Trustee’s

Objections to Plan Confirmation and Motion to Dismiss Case with Prejudice. (Doc. 20) Prior to the

hearing, Counsel for the Chapter 13 Trustee and Counsel for the Debtor agreed to allow the Debtor a ten

(10) day status period to submit $2,996.00 to the Trustee and to provide her 2020 Federal Income Tax

Return to the Trustee. Upon Debtor’s completion of the status requirements, Debtor’s Counsel would

renotice the 341 Meeting of Creditors and hearing on Plan Confirmation. Upon Debtor’s default of the
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status requirements, the Trustee would file a report with the Court stating the defaulted terms. Upon

receipt of that report, without further notice or hearing, the Court would enter an Order Dismissing the

Case with Prejudice including a bar to the Debtor refiling a case under Chapter 13 for one-hundred and

eighty (180) days from the entry of the order. The terms of this agreement were stated on the record at

the call of the calendar on January 25, 2022.

       The Trustee’s attorney reviewed the case and filed her status report with the Court on February

16, 2022, which reflects that neither the funds nor the tax return have been provided to the Trustee.

Accordingly, it is hereby

       ORDERED that this case is DISMISSED WITH PREJUDICE. Pursuant to 11 U.S.C. §

109(g) and 11 U.S.C. § 105(a), the Debtor is ineligible to be a Debtor in a case under Chapter 13 of the

United States Code for a period of one-hundred and eighty (180) days from the entry of this Order.

       The Clerk of the Court is directed to serve this Order on the parties included in the

Distribution List.

                                       END OF DOCUMENT

Presented By:


 /s/
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                                       DISTRIBUTION LIST

Case No.: A21-58140-JRS

                The Clerk of Court shall serve all parties on the Mailing Matrix.
